                    Case 19-12644-mdc               Doc      Filed 07/16/21 Entered 07/16/21 15:31:38                  Desc Main
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  Fill in this information to identify the case:
  Debtor 1              Essa-Aisha A Purnell
  Debtor 2              Abdou R Gueye
  (Spouse, if filing)
  United States Bankruptcy Court for the: Eastern District of Pennsylvania
  Case number           19-12644

Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you assert
are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

 Name of Creditor: Wells Fargo Bank, N.A.
 Last 4 digits of any number you use to identify
 the debtor's account:      8178                                                    Court claim no. (if known): 14
 Uniform Claim Identifier: WFCMGE1912644PAE09118178

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
                No
                Yes. Date of the last notice

Part 1:          Itemized Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that
approval in parentheses after the date the amount was incurred.

            Description                                                           Dates Incurred                                        Amount

    1. Late charges                                                                                                             (1) $            0.00
    2. Non-sufficient funds (NSF) fees                                                                                          (2) $            0.00
    3. Attorney fees                                                                                                            (3) $            0.00
    4. Filing fees and court costs                                                                                              (4) $            0.00
    5. Bankruptcy/Proof of claim fees                                                                                           (5) $            0.00
    6. Appraisal/Broker's price opinion fees                                                                                    (6) $            0.00
    7. Property inspection fees                                                                                                 (7) $            0.00
    8. Tax advances (non-escrow)                                                                                                (8) $            0.00
    9. Insurance advances (non-escrow)                                                                                          (9) $            0.00
    10. Property preservation expenses. Specify:                                                                               (10) $            0.00
    11. Other. Specify:      HAZ INS PREMIUM                                       07-09-2021                                  (11) $         282.00
    12. Other. Specify:                                                                                                        (12) $            0.00
    13. Other. Specify:                                                                                                        (13) $            0.00
    14. Other. Specify:                                                                                                        (14) $            0.00
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. § 1322(b)(5) and
Bankruptcy Rule 3002.1.

The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing a
proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court’s claims register (and any
supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.



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Debtor 1 Essa-Aisha A Purnell
                                                         Document      PageCase
                                                                            2 ofnumber
                                                                                 4     (if known) 19-12644
            First Name              Middle Name               Last Name


Part 2:      Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.
  Check the appropriate box:
     I am the creditor.
      I am the creditor's authorized agent.   (Attach a copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
  and reasonable belief.
          /s/ Gwendolyn Carmichael McClain                                   Date 07/16/2021
          Signature




  Print: Gwendolyn Carmichael McClain                                        Title   VP Loan Documentation
          First Name            Middle Name             Last Name




    Specific Contact Information:                                             Wells Fargo Bank, N.A.
    P: 800-274-7025                                                           MAC N9286-01Y
    E: 180DayInquiries@wellsfargo.com                                         1000 Blue Gentian Road
                                                                              Eagan, MN 55121-7700




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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                            CASE NO.:       19-12644
Essa-Aisha A Purnell                              CHAPTER:        13
Abdou R Gueye
              Debtor(s).
                                      /


                                 CERTIFICATE OF SERVICE

I hereby certify that on or before July 19, 2021, I served a copy of this Notice and all
attachments upon each of the entities named below by the court's notice of electronic filing or by
placing a copy thereof in an envelope, in the United States Mail with first class mail postage
prepaid, addressed to each of them as follows:

SERVICE LIST
Debtor:                       By U.S. Postal Service First Class Mail Postage Prepaid:
                              Essa-Aisha A Purnell
                              611 McKinley Street
                              Philadelphia, PA 19111



                              By U.S. Postal Service First Class Mail Postage Prepaid:
                              Abdou R Gueye
                              611 McKinley Street
                              Philadelphia, PA 19111



Debtor's Attorney:            By CM / ECF Filing:
                              BRAD J. SADEK
                              Sadek and Cooper
                              1315 Walnut Street
                              Suite 502
                              Philadelphia, PA 19107



Trustee:                      By CM / ECF Filing:
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Trustee:              WILLIAM C. MILLER, Esq.
                      Chapter 13 Trustee
                      P.O. Box 1229
                      Philadelphia, PA 19105



                                      /s/ John Shelley
                                      InfoEx, LLC
                                      (as authorized agent for Wells Fargo Bank,
                                      N.A.)
